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Insurer:


M~►RKEL°
           EVANSTAN II~SVRA~~E Q~PANY
            [A stock insurance company, herein called the Company, which except in Illinois is a non-
            admitted insurer, writing pursuant to the surplus lines laws and not under the jurisdiction of the
            Insurance Commissioner.]




PLCYJK 12/06
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                                                                                             Policy No. LA-806580
          EVANSTaN INSURANCE ~~PANY                                                          Prev.  No. LA-806168
                                                                                             Prod. No. 12615
t~IARKEL°

DECLARATIONS —LAWYERS PROFESSIONAL LIABILITY INSURANCE POLICY

Claims Made Coverage: The coverage afforded by this policy is limited to liability for only those Claims
that are first made against the Insured during the Policy Period or the Extended Reporting Period, if
exercised, and reported to the Company pursuant to the terms herein.

Notice: This is a duty to defend policy. Additionally, this policy contains provisions that reduce the Limits of
Liability stated in the policy by the costs of legal defense and permit legal defense costs to be applied
against the deductible, unless the policy is amended by endorsement. Please read the policy carefully.

1.      NAMED INSURED: LONSTEIN LAW OFFICE, P.C.

2.      BUSINESS ADDRESS:
                       80 N. MAIN STREET
                       ELLENVI LLE, NY 12428

3.      POLICY PERIOD:         From June 1, 2013 tQ June 1, 2014
                               12:01 A.M. Standard Time at address of Insured stated above

4.      LIMITS OF LIABILITY:

        A. Each Claim:                                                                   $ 1,000,000

        B. Policy Aggregate:                                                              $ 3,000,000

5.      DEDUCTIBLE:

        Each Claim:                                                                      $      ~ 0,00

6.      PREMIUM FOR POLICY PERIOD:                                                       $     35,585.04


7.      RETROACTIVE DATE: June 1, 2000

8.      PREMIUM FOR EXTENDED REPORTING PERIOD: 100% for 12 months; 15Q%for 24 months; or
        200% for 36 months

9.      ENDORSEMENTS ATTACHED AT POLICY INCEPTION:

        1. EIC 4115-01             25%Minimum Earned Premium Endorsement




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                                                                                        Policy No. LA-806580
10.         NOTICES:
            Notices required to be provided to the Company under this policy shall be addressed to:
            ~i Winn Nn-ri~F~•                                  ALL OTHER NOTICES:
            Claims Service Center                              MARKEL NORTHEAST
            MARKEL SERVICE, INCORPORATED                       310 Highway 35 South
            Ten Parkway North                                  Red Bank, NJ 07701
            Deerfield, Illinois 60015
                                                               Fax:(866)730-1027
            Fax:(855)662-7535
            E-mail: newclaims@markelcorp.com




                                                                         ..~-~--~-d~
                                                                           authorized Representative




Policy Form: LA-20000 01/07
Dec: LA-10000-01 01/08
Date Printed: August 3, 2020

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                         Markers Designed Protection°
                   Risk Management Resources for Law Firms

Welcome to Market's Designed Protection° leading edge Risk Management Resources.

The following risk management resources are available exclusively to our policyholders
at our website vvww.markelcorp.com/riskmanagement at no additional cost.

HOW TO QUICKLY ACCESS RISK MANAGEMENT RESOURCES:

Ste 1.      Go onto our website, www.markelcorp.comlriskmanac~em~nt.

Step 2.     Select the Designed Protection services that apply to your policy, to get to the
            Login screen.

Step 3.     Review the disclaimer, enter your current policy number and click on the
            button below to access. Your policy number is LA806580.

If you need technical assistance during the log in process, call (866)932-2433, x1 X426.

Available Risk Management Resources include:
   • Designed Protection° Risk Management Telephone Hotline for Law Firms
     This confidential telephone hotline is staffed by nationally known preeminent
     Lawyers E&O defense lawyers who are experts in Lawyers E&O Risk
     fvlanagement and iaw~er's e~hi~a~ i~s~res th~~ ~r~e ~v~i~~~ie t~ ~nsw~~ ger~~r~i ris~C
     management questions.
   • Designed Protection° Risk Management Guide for Law Firms
     This Guide provides insight into core causes of L~vvyers E&O claims. 80 risk
     ~a~~~~~~r~~ s~r~teg~es ~~ i~e9p reduce the r6~k ~~ pro~e~~6~~~! I~abilot~~ ~~p~~ur~s.
     Key topic arias include achieving optimal law firm culture, enhancing overall
     q uality of client relations, raising client satisfaction levels, implementing financial
     management and practice management strategies, and interrupting existing
     claim trends or patterns.
   • Designed Protection° Risk Management Professional Practices Guide
     One of a kind guide provides 2~0 Leading Edge Strategies addressing 75
     different topics. Helps professions{s pursue best practices in the delivery of their
     services.
   • Top 10 Tips for Avoiding Lawyers Professional Liability Claims
     A concise, bullet point summary of 10 liability risk avoidance strategies.
Please check our website regularly as additional resources are added throughout the year.




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            EVANST(~N ~NSURANCE ~~PANY
MARKEL°

Endorsement
Named Insured:                                                        Attached to and forming
LONSTEIN LAW OFFICE, P.C.                                             a part of Policy No.:          LA-806580
                                                                      Endorsement No.:               1
                                                                      Effective Date of Endorsement: June 1, 2013



                                25% MItVIMUM EARNED PREMIUM ENDORSEMENT
         In consideration of the premium paid, it is hereby understood and agreed that in the event that this policy
         is cancelled by the Named Insured, the policy premium is subject to a minimum earned premium of
         twenty-five percent(25%)of the total premium.




All other provisions of the policy shall remain unchanged.

EIC 4115-01 2/03                                                                                               Page 1 of 1
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Lawyers Professional Liability Insurance Policy
THIS IS A CLAIMS MADE POLICY. PLEASE READ IT CAREFULLY.
In consideration of the premium paid, the undertaking of the Named Insured to pay the Deductible as
described herein and in the amount stated in the Declarations, in reliance upon the statements in the
application attached hereto and made a part hereof and the underwriting information submitted on behalf
of the Insured, and subject to the terms, conditions and limitations of this policy, the Company and the
Insured agree as follows:

THE INSURED
The unqualified word "Insured", either in the singular or plural, means:
A.    the Named Insured specified in Item 1. of the Declarations or any Predecessor Firm;
B.    any lawyer who is a past, present or future partner, officer, director, principal, shareholder,
      shareholder of a partner, member or employee of the Named Insured solely for Professional Legal
      Services;
C.    any non-lawyer who is a past, current or future employee of the Named Insured specified in Item 1.
      of the Declarations or any Predecessor Firm solely while acting on behalf of the Named Insured
      specified in Item 1. of the Declarations or any Predecessor Firm;
D.    any person, professional corporation or limited liability professional corporation designated as Of
      Counsel solely for Professional Legal Services;
E.    any lawyer who is a temporary or leased professional personnel solely for Professional Legal
      Services:
F.    the heirs, executors, administrators, assigns and legal representatives of each Insured hereinabove
      in the event of death, incapacity or bankruptcy of such Insured, but only while acting within the
      scope of their duties as such on behalf ofi the Named Insured or of the Insured's estate.

INSURING AGREEMENT
The Company shall pay on behalf of the Insured all sums in excess of the Deductible amount stated in
Item 5. of the Declarations, which the Insured shall become legally obligated to pay as Damages as a
result of Claims first made against the Insured during the Policy Period or the Extended Reporting Period,
if exercises, and reported to the company pursuant to Section Maims A., Maim Reporting €provision, by
reason of:
A.    a Wrongful Act arising out of Professional Legal Services; or
B.    Personal Injury committed by the Insured;
provided:
1.    the entirety of the Wrongful Act or Personal Injury happens during the Policy Period or on or after the
      Retroactive Date stated in Item 7. of the Declarations; and
2.    prior to the effective date of this policy no Insured had any knowledge of such Wrongful Act or
      Personal Injury or any fact, circumstance, situation or incident which would lead a reasonable person
      in that Insured's position to conclude that a Claim was likely.

SUPPLEMENTARY PAYMENTS
A.    Disciplinary Proceedings: Solely with respect to Section The Insureds A., B., D., or F. (solely as
      F. applies to Section The Insured A., B. or D.), upon submission to the Company of satisfactory
      written proof of payment, the Company shall reimburse the Insured all reasonable and necessary
      legal fees and legal expenses incurred and paid by the Insured in defending a Disciplinary
      Proceeding first received by the Insured during the Policy Period and reported to the Company
      pursuant to Section Claims A., Claim Reporting Provision; provided:
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      1. the act giving rise to the Disciplinary Proceedings happens during the Policy Period or on or after
         the Retroactive Date stated in Item 7. of the Declarations; and
     2. prior to the effective date of this policy, the Insured had no knowledge of such Disciplinary
        Proceeding or any fact, circumstance, situation or incident which would lead a reasonable person
        in that Insured's position to conclude that a Disciplinary Proceeding was likely.
     The total of such reimbursement shall not exceed twenty-five thousand dollars ($25,000) for all
     Disciplinary Proceedings first received during the Policy Period.
     No reimbursement pursuant to this Section A. sha4! be made for the Insured's payment of any taxes;
     criminal or civil fines, penalties or sanctions; registration or licensing fees; or any monetary judgment,
     award or settlement of any kind.
     Reimbursement to the Insured pursuant to this Section A. shall be in addition to the Limits of Liability
     stated in Item 4. of the Declarations and shall not be subject to the Deductible.
B.   Loss of Earnings and Expense Reimbursement: Upon submission to the Company of
     satisfactory written proof of payment, the Company shall reimburse the Insured as expense
     reimbursement all reasonable and necessary expenses incurred by the Insured at the Company's
     request for attendance at any arbitration, Mediation, deposition, hearing or trial in connection with a
     Claim to which this policy applies.
     The Company shall compensate the Named Insured for loss of earnings solely of an Insured who is a
     lawyer a maximum of four hundred dollars ($400) per day per Insured lawyer to attend at the
     Company's request any arbitration, Mediation, deposition, hearing or trial in connection with a Claim
     to which this policy applies.
     The maximum the Company shall reimburse all Insureds for all loss of earnings and expense
     reimbursements during the Policy Period for all Claims to which this policy applies and all attendances
     is ten thousand dollars ($10,000).
     Payments to the Insured pursuant to this Section B. shall be in addition to the Limits of Liability stated in
     9t~m ~4. ~f the Deci~~~tic~n~ ~~d ~h~l~ nest b~ subject to the ~ed~ciib~e.

DEFINITIONS
A.   Claim means a demand received by the Insured for Damages and shall include the service of suit or
     institution of arbitration proceedings against the Insured.
B.   Claim Expenses means reasonable and necessary amounts incurred by the Company or by the
     Insured with the prior written consent of the Company in the defense of that portion of any Claim for
     which coverage is afforded under this policy, including costs of investigation, court costs, costs of
     bonds to release attachments and similar bonds, but without any obligation of the Company to apply
     for or furnish any such bonds, and costs of appeals; provided, however, Claim Expenses shall not
     include:(1) salary, wages, overhead, or benefit expenses of or associated with employees or officials
     of the Named Insured or employees or officials of the Company; or (2) salary, wages, administration,
     overhead, benefit expenses, or charges of any kind attributable to any in-house counsel or captive
     out-of-house counsel for the Named Insured or the Company.
C.   Damages means the monetary portion of any judgment, award or settlement; provided, however,
     Damages shall not include: (1) punitive or exemplary damages or any multiplied portions of
     damages in excess of actual damages, including trebling of damages; (2) taxes, criminal or civil
     fines, or attorneys' fees of a party other than an Insured or other penalties imposed by law; (3)
     sanctions; (4) matters which are uninsurable ender the law pursuant to which this policy shall be
     construed; or (5) the return, withdrawal, reduction, restitution or payment of any fees, profits or
     charges for services or consideration and/or any expenses paid to the Insured for services or
     goods.
D.   Disciplinary Proceeding means any complaint, charge or investigation commenced or action
     brought by a bar association, disciplinary board or other similar entity alleging violations of the rules of

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      pro#~essional responsibility, or any other action to limit, suspend or revoke the Insured's license to
      practice law.
E.    Mediation means the voluntary process in which an objective third party who is a qualified
      professional mediator selected by the parties to the Claim, with written agreement of the Company,
      intervenes between the parties in an attempt to achieve settlement of the Claim. Mediation does not
      include litigation, arbitration or any court mandated proceedings.
F.    Of Counsel means any lawyer, professional corporation, limited liability professional corporation or
      any lawyer who is an employee of such professional corporation or limited liability professional
      corporation who is specifically identified on the application for this policy as Of Counsel solely while
      acting on behalf of the Named Insured.
G.    Personal Injury means:
      1. libel, slander or defamation;
      2. oral or written publication of material that violates a person's right of privacy; or
      3. false arrest, detention or imprisonment, or malicious prosecution;
      committed in the performance of Professional Legal Services.
H.    Predecessor Firm means and legal entity which was engaged in the practice of law to whose
      financial assets and liabilities the Named Insured is the majority successor in interest and which is
      designated in the application as a Predecessor Firm.
I.    Policy Period means the period from the inception date of this policy to the policy expiration date
      as stated in Item 3. of the Declarations, or its earlier cancellation or termination date.
J.    Profiessional Legal Services means services rendered by an Insured (1) as a lawyer, as a notary
      public, as a mediator, as an arbitrator, as a title insurance agent, or as an administrator,
     conservator, executor, guardian, trustee other than a trustee in bankruptcy, or any other similar
     fiduciary, provided that such services are connected with and incidental to the Insured's profession
      as a lawyer and are performed by or on behalf of the Named Insured or any Predecessor Firm; or
     (2) as a director or officer of any bar association, its governing body or any of its committees,
      provided that such services were rendered while such Insured was a partner, officer, director,
      principal, shareholder, shareholder of a partner, member or employee of the Named Insured.
K.    Wrongful Act means any act, error or omission by the Insured in rendering or failing to render
      Pro~~ss~or~~! Legal ~e~~ces fc~r ~th~r~.

THE EXCLUSIONS
This policy does not apply to:
A.    any Claim based upon or arising out of a contract or agreement for, or any other right relating to,
      payment of or division of any fees or fee apportionment between the Insured and any lawyer;
B.    any Claim made against the Insured by or on behalf of any Insured under this policy; provided,
      however, this exclusion does not apply to a Claim arising out of the rendering of Professional Legal
      Services by an Insured rendered to such other Insured as a client;
C.    any Claim brought by or on behalf of any entity which at the time Professional Legal Services were
      rendered, any Insured had more than a ten percent(10%) ownership interest or control, whether or
      not such ownership or control is financial or otherwise;
D.    any Claim based upon or arising out of any obligation of the Insured under any workers'
      compensation, unemployment compensation or disability benefits law or under any similar law;
E.    any Claim based upon or arising out of wrongful termination or other employment related practices;
F.    any Claim based upon, arising out of, or in any way involving any deliberately criminal, dishonest or
      fraudulent act, error or omission if a judgment or other final adjudication adverse to the Insured
      establishes that the Insured committed a criminal, dishonest or fraudulent act, error or omission;

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      provided, however, any criminal, dishonest or fraudulent act, error or omission pertaining to any
      I nsured under this policy shall not be imputed to any other Insured under this policy for the purpose of
      determining the applicability of this exclusion.
G.    any Claim for any actual or alleged bodily injury, sickness, disease or death of any person, or
      damage to or destruction of any tangible property including loss of use thereof;
H.    any Claim based on or arising out of any Insured's services or capacity as a securities broker,
      dealer, financial planner, investment advisor, accountant, real estate broker or real estate agent;
I.    any Claim based upon or arising out of any unlawful discrimination by any Insured;
J.    any Claim based upon or arising out of notarized certification or acknowledgement by any Insured,
      in his/her capacity as a notary public, of a signature without the physical appearance at the time of
      said notarization before such notary public, or the person who is or claims to be the person signing
      such instrument;
K.    any Claim based upon or arising out of the Insured's capacity as a public official, or as an employee
      of a governmental body, subdivision or agency; provided, however, this exclusion does not apply to
      the rendering of Professional Legal Services by an Insured to a governmental body, subdivision or
      agency wherein the Named Insured receives a fee for such Professional Legal Services; or
L.    any Claim based upon or arising out of any actual or alleged violations of the Employee Retirement
      Income Security Act of 1974 (FRIBA) and its amendments or any regulation or order issued
      pursuant thereto or any similar federal, state or local law.

TERRITORY
The insurance afforded by this policy applies worldwide, provided the Claim is made in the United States
of America, its territories or possessions, Puerto Rico or Canada.

LIMITS OF LIABILITY
~.    Lirn~~ o~ L.~~b~~a#~ - ~~~h ~~ae~: Thy tots! l6~~il~t~r ~~ the ~c~~p~r~~ f~c- the ~~nnb6~~d tc~t~! of
      Damages and Claim Expenses for each Claim first made against the Insured during the Policy
      Period or Extended Reporting Period, ifi exercised, shall not exceed the Limit of Liability stated in
      Item 4.A. of the Declarations as applicable to Each Claim. This limit applies as excess over the
      Deductible amount.
~.    limit o~ Liability -policy ~►ggrega~e: subject to the above Limits of Liability ~., ~t~e total liability of
      the Company shall not exceed the Aggregate Limit of Liability as stated in Item 4.B. of the
      Declarations for all Damages and Claim Expenses arising out of all Claims first made during the
      Policy Period and the Extended Reporting Period, if exercised. This limit applies as excess over the
      Deductible amount.
C.    Deductible: The Deductible amount stated in Item 5. of the Declarations shall be paid by the
      Named Insured and shall be applicable to each Claim and shall include Damages and Claim
      Expenses, whether or not any Damages payments are made.
      Such amounts shall, upon written demand by the Company, be paid by the Narned Insured within
      ten (10) days. The total payments requested from the Named Insured in respect of each Claim shall
      not exceed the Deductible amount stated in Item 5. of the Declarations.
      The determination of the Company as to the reasonableness of the Claim Expenses shall be
      conclusive on the Named Insured.
D.    Deductible Credits: If a Claim is settled without litigation, arbitration, Mediation or court mandated
      proceedings, the Deductible for such Claim will be reduced by seventy-five percent (75%) or ten
      thousand dollars ($10,000), whichever is less.
     If the Named Insured and the Company agree to the use of Mediation and a Claim is settled at that
     Mediation, the Deductible for such Claim will be reduced by fifty percent (50%) or ten thousand
     dollars ($10,000), whichever is less.
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      Multiple Insureds, Claims and Claimants: The inclusion herein of more than one Insured in any
      Claim or the making of Claims by more than one person or organization shall not operate to
      i ncrease the Limits of Liability stated in Item 4. of the Declarations. More than one Claim arising out
      of a single Wrongful Act or Personal Injury or a series of related Wrongful Acts or Personal Injuries
      shall be considered a single Claim. All such Claims, whenever made, shall be treated as a single
      Claim. Such sing{e Claim, whenever made, shall be deemed to be first made on the date on which
      the earliest Claim arising out of such Wrongful Act is made or with regard to notice given to and
      accepted by the Company pursuant to Section Claims B., Discovery Clause, on the date within the
      Policy Period on which such notice of potential Ctaim is first received by the Company.

DEFENSE, SETTLEMENTS AND CLAIM EXPENSES
A.    Defense, Investigation and Settlement of Claims:
      1. The Company shall have the right and duty to defend and investigate any Claim to which
         coverage under this policy applies pursuant to the following provisions:
         (a) Claim Expenses incurred in defending and investigating such Claim shall be a part of and
             shaft not be in addition to the Limits of Liability stated in Item 4. of the Declarations. Such
             Claim Expenses shall reduce the Limits of Liability and shall be applied against the
             Deductible. The Company shall have no obligation to pay any Damages or to defend or
             c~ntir~ue to defend any Cla~rn or fio pay Claim Expen~e~ after the L~m6t~ of Liab~lit~ as staffed
             in Item 4. of the Declarations have been tendered to the Insured or into the court or
             exhausted by payments)of Damages and/or Claim Expenses.
         (b) The Company shall select defense counsel; provided, however, that if the law of the state of the
             Insured's domicile (as stated in Item 2. of the Declarations) allows the Insured to control the
             selection of defense counsel where a conflict of interest has arisen between the Insured and the
             Company, the Company will provide a list of attorneys or law firms from which the Insured may
             designate defense counsel who shall act solely in the interest of the Insured, and the Insured shall
             direct such defense counsel to cooperate with the Company. Such cooperation shall include:
             (i) providing on a regular basis, but not less frequently than every three (3) months, written
                 reports ~n claimed Damages, potential liability, progress ~f any litigation, any settferrtent
                 demands, or any investigation developments that materially affect the Claim;
             (ii) providing any other reasonable information requested and fully itemized billing on a
                  periodic basis;
             (~~r~ coo~e~at~~~ ~~th the ~~m~an~~ a~~ the !t~s~~r~~ ~!? resolving ~~y d~~~~r~¢~ar~c~~;s;
              and the fees and costs incurred by such defense counsel, including those fees and costs
              generated by cooperation with the Company, as set forth above, shall be included in Claim
              Expenses. Such Claim Expenses shall be a part of and shall not be in addition to the Limas of
              Liability as stated in Item 4. of the Declarations. Such Claim Expenses shall reduce the Limits
              of Liability and shall be applied against the Deductible.
E3.   Con~~nt to ~ettlerr~ent~m
      1. The Company shall not settle any Claim without the prior written consent of the Insured, but the
         Company shall have, at all times, the right to recommend a settlement of any Claim. If the Insured
         shall refuse to settle such Claim pursuant to the Company's recommendations, then the Company's
         liability in regard to such Claim shall not exceed the amount for wi~ich the Claim could have been
         settled and the amount of any Claim. Expenses incurred up to the date of the Insured's refusal to settle
         the Claim. Such amounts are subject to the provisions of the Section Limits of Liability A. and B.
      2. The Insured shall not, with respect to any Claim covered under this policy, except at his/her own
         cost, make any payment, admit any liability, settle any Claims, assume any obligation, agree to
         arbitration or any similar means of resolution of any dispute, waive any rights or incur Claim
         Expenses without the Company's prior written consent, such consent not to be unreasonably
         withheld. Any costs and expenses incurred by the Insured prior to the Insured giving written
         notice of the Claim to the Company shall be borne by the Insured and will not constitute
         satisfaction of the Deductible.

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CLAIMS
A.    Claim Reporting Provision: The Insured shall give to the Company written notice as stated in Item
      10. of the Declarations as soon as practicable of any Claim first made against the Insured during the
      Policy Period or the Extended Reporting Period, if exercised.
     In the event suit is brought against the Insured, the Insured shall immediately forward to Markel
     Service, Incorporated, Ten Parkway North, Deerfield, Illinois, 60015, on behalf of the Company,
     every demand, notice, summons or other process received by him/her or by his/her
     representatives.
B.   Discovery Glause: If during the Policy Period, the Insured first becomes aware of a specific Wrongful
     Act or Personal Injury which is reasonably expected to result in a Claim within the scope of coverage of
     this policy, then the Insured may provide written notice to the Company containing the information listed
     below. If such written notice is received by the Company during the Policy Period, then any Claim
     subsequently made against the Insured arising out of such Wrongful Act or Personal Injury shall be
     deemed for the purpose of this insurance to have been first made on the date on which such written
     notice is first received by the Company.
     It is a condition precedent to the coverage afforded by this Discovery Clause that written notice be
     given to the Company containing the following information:
      1.    the description of the specific Wrongful Act or Personal Injury;
     2.     the date on which such Wrongful Act or Personal Injury took place;
     3.     the injury or damage which has or may result from such Wrongful Act or Personal Injury;
     4.     the identity of any persons and/or organization subject to such injury and/or damage; and
     5.     the circumstances b}r which the Insured first became aware of such Wrongful Act or Personal
            I njury.
C.    Assistance end Cooperation of the Insured: The Insured shall cooperate with the Company and
      upon the ~ompar~y°s r~quesf, t~~ insured shall: (~} submit to examir~a#ion and interview by a
      representative of the Company, under oath if required; (2) attend hearings, depositions and trials;
     (3) assist in effecting settlement, securing and giving evidence, obtaining the attendance of
      witnesses in the conduct of suits; (4) give a written statement or statements to the Company's
      representatives and meet with such representatives for the purpose of determining coverage and
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      reimbursement provided under Section Supplementary Payments. The Insured shall further
     cooperate with the Company and do whatever is necessary to secure and effect any right of
      indemnity, contribution or apportionment which the Insured may have.
D.   False or Fraudulent Claims: If any Insured shall commit fraud in proffering any Claim, this
     insurance shall become void from the date such fraudulent Claim is proffered.

EXTENDED REPORTING PERIOD
A.    If the Named Insured nonrenews this policy or cancels this policy pursuant to Section Other
      Conditions A., or if the Company nonrenews this policy or cancels this policy pursuant to Section
      Other Conditions A., for reasons other than nonpayment of premium or Deductible or non-compliance
      with the terms and conditions of this policy, then the Named Insured shall have the right upon
      payment of an additional premium calculated at that percentage stated in Item 8. of the Declarations
      of the annual premium for the Policy Period, to extend the coverage granted under this policy, to
      Claims first made against the Insureds during:(1)twelve (12) months;(2)twenty-four (24) months; or
     (3)thirty-six (36) months; as elected by the Named Insured, and reported to the Company pursuant to
     Section Claims A., Claim Reporting Provision, following immediately upon the effective date of such
     cancellation or nonrenewal, for any Wrong#ul Act or Personal Injury committed on or after the
      Retroactive Date and prior to the effective date of such cancellation or nonrenewal. This period of


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     months as elected by the Named Insured and described in this paragraph shall be referred to in this
     policy as the Extended Reporting Period.
     If, however, this policy is immediately succeeded by similar claims made insurance coverage on
     which the Retroactive Date is the same as or earlier than that stated in the Item 7. of the
     Declarations, the succeeding insurance shall be deemed to be a renewal hereof and, in
     consequence, the Named Insured shall have r~o right to purchase an Extended Reporting Period.
     The quotation of a different premium and/or Deductible and/or Limit of Liability for renewal does not
     constitute a cancellation or refusal to renew for the purpose of this provision.
B.   As a condition precedent to the right to purchase the Extended Reporting Period, the Named
     Insured must have paid: (1) all Deductibles when due; (2) all premiums due for the Policy Period;
     and (3) all premium and deductibles due on any other policy(ies) issued by the Company or any of
     its affiliated companies in an uninterrupted series of policies for which this policy is a renewal or
     replacement. The right to purchase the Extended Reporting Period shall terminate unless a written
     request for the Extended Reporting t'eriod is received by the Company vrrithin thirty (30) days after
     the effective date of cancellation or nonrenewal together with full payment for the Extended
     Reporting Period. If such written request and premium payment for the Extended Reporting Period
     are not so received by the Company, there shall be no right to purchase the Extended Reporting
     Period at a later date.
C.   In the event of the purchase of the Extended Reporting Period the entire premium therefor shall be
     fully earned at its commencement.
D.   The Extended Reporting Period shall not in any way increase the Limits of Liability stated in Item 4.
     of the Declarations.

NON-PRACTICING E~CTENDED REPORTING PERIOD OPTIONS
A.   Any natural person who is a partner, officer, director, principal, shareholder, shareholder of a partner,
     member or employee of the Named Insured who, during the Policy Period, retires or otherwise
     ceases the private practice of his/her prof~~sion as a lawyer shalf have the right upon payrr~ent o~
     an additional premium of: (1) one hundred percent (100°/o) of the annual premium for the Policy
     Period divided by the total number of lawyers shown in the application for this policy, for twelve (12}
     months; or (2) one hundred and fifty percent for (150%0) of the annual premium for the Policy Period
     divided by the total number of lawyers shown in the application for this policy, for twenty-four (24)
     months; to extend coverage granted under phis policy, to ~iaims Tirsi made against the such insured
     during (1}twelve (12) months; or (2) twenty-four (24) months; as elected by the Insured and reported
     to the Company pursuant to Section Claims A., Claim Reporting Provision, following immediately
     upon the effective date of such retirement or cessation of private practice, for any Wrongful Act or
     Personal Injury committed on or afiter the Retroactive Date and prior to the effective date of such
     retirement or cessation of private practice. This period of months as elected by the Insured and
     described in this paragraph shall be referred to in this policy as the Non-Practicing Extended
     Reporting Period.
     This Non-Practicing Extended Reporting Period Option shall nat be available when the license to
     pracfice law of the Insured exercising the Non-Practicing Reporting Period Option, has been revoked,
     suspended or surrendered at the request of any disciplinary or regulatory authority for reason other
     than the retirement or cessation of private practice of such Insured at, on or prior to the effective date
     of retirement or cessation of private practice.
B.   As a condition precedent to the right to elect the Non-Practicing Extended Reporting Period, the
     Named Insured must have paid: (1}all Deductibles when due; (2) all premiums due for the Policy
     Period; and (3) all premium and deductibles due on any other policy(ies) issued by the Company or
     any of its affiliated companies in an uninterrupted series of policies of which this policy is a renewal
     or replacement of. The right to elect the Non-Practicing Extended Reporting Period shall terminate
     unless a written request for the Non-Practicing Extended Reporting Period is received by the
     Company within sixty (60) days after the effective date of retirement or cessation of private practice
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     together with full payment for the Non-Practicing Extended Reporting Period. If such written request
     and premium payment for the Non-Practicing Extended Reporting Period are not so received by the
     Company, there shall be no right to elect the Non-Practicing Extended Reporting Period at a later
     date.
C.   In the event of the purchase of the Non.-Practicing Extended Reporting Period the entire premium
     therefor shall be fully earned at its commencement.
D.   The Non-Practicing Extended Reporting Period shall not in any way increase the Limits of Liability
     stated in Item 4. of the Declarations.

OTHER CONDITIONS
A.   Cancellation: This policy may be cancelled by the Named Insured on behalf of all Insureds by
     mailing to the Company written notice stating when thereafter such cancellation shall be effective. If
     cancelled by the Named Insured, the earned premium shall be computed at the customary short
     rate. Payment or tender of unearned premium shall not be a condition precedent to the
     effectiveness of cancellation, but such payment shall be made as soon as practicable.
     This policy may be cancelled by the Company or by its underwriting manager, on behalf of the
     Company, by mailing to the Named Insured, at the address stated ~n Item 2. of the Declarations, written
     r~~tie~ stating whin, not less than thirty X30) days th~rea~ter, such canc~ll~tio~ shall be effec~~ve.
     However, if the Company cancels the policy because the Named Insured has failed to pay a premium or
     Deductible when due, including premium and deductibles due on any other policy(ies) issued by the
     Company or any of its affiliated companies in an uninterrupted series of policies for which this policy is a
     renewal or replacement, this policy may be cancelled by the Company or by its underwriting manager,
     on behalf of the Company, by mailing a written notice of cancellation to the Named Insured stating
     when, not less than ten (10) days thereafter, such cancellation shall be effective. The mailing of notice
     as aforementioned shall be sufficient notice and the effective date of cancellation stated ire the notice
     shall become the end of the Policy Period. Such notice shall be conclusive on all Insureds. Delivery of
     such written notice by the Named Insured, the Company or its underwriting manager shall be
     equivalent to m~iiing. if cance~ied by the Cori-~par~y or its underwriting manager, earned premium shall
     be computed pro rata. Premium adjustment may be made at the time cancellation is effected or as soon
     as practicable thereafter.
B.   Changes in the Named Insured: If after the inception date of this policy:
     ~ . th~rp ~s ~ ~ha!~c~e ~f f~~y ~er~~nt X50°!~; or ~Qre ire #hp t~t~! n~.:!~ber ~f ~~l~l~,~yer~ ~~ the !►!l~~ned
         Insured; or
     2. there is any new involvement in any single practice specialty anticipated to produce twenty-five
        percent (25%) or more of the Named Insured's gross billable dollars;
     the Named Insured shall give written notice of such change to the Company as soon as practicable,
     but in no event later than sixty (60) days after such change, and the Company shall have the right
     to additional premium for such changes, based on its sole assessment of the additional
     exposure(s)presented .
     There shall not be any premium adjustment during the Policy Period as the result of a change in the
     total number of lawyers at the Named Insured other than as stated herein above.
C.   Changes in Ownership: If after the inception date of this policy:
     1. another entity or person or group of entities and/or persons acting in concert acquires a majority
        of the voting securities of the Named Insured or majority successor in interest of the Named
        Insured;
     2. the Named Insured is merged into or consolidated with another entity such that the Named
        Insured is not the surviving entity; or
     3. a receiver, liquidator, conserva#or, trustee or similar official is appointed with respect to the
        Named Insured;

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     then, the policy will remain in effect until the end of the Policy Period, but only with respect to any
     Wrongful Act or Personal Injury which occurred before such change in ownership. The Named
     I nsured shall give written notice of such change in ownership to the Company as soon as practicable,
     but in no event later than sixty (60) days after such change in ownership. Further, the entire premium
     for this policy will be considered fully earned upon the occurrence of any of the above events in
     consideration of the coverage extended.
D.   Representations: By acceptance at this policy, the Insureds agree as follows:
     1. that the information and statements contained in the applications) are the basis of this policy and
        are to be considered as incorporated into and constituting a part of this policy; and
     2. that the information and statements contained in the applications) are their representations, that they
        shall be deemed material to the acceptance of the risk or hazard assumed by the Company under this
        policy, and that this policy is issued in reliance upon the truth and accuracy of such representations.
E.   Entire Agreement: This policy, the Declarations, the applications} and any written endorsements
     attached hereto shall be deemed to be a single unitary contract.
F.   Other Insurance: This insurance shall be in excess of the Deductible stated in Item 5. of the
     Declarations and any other insurance available to the Insured whether such other insurance is stated to
     be primary, contributory, excess, contingent or otherwise, unless such other insurance is written only as
     a specific excess insurance over the Limits of Liability provided in this policy.
G.   Changes: Notice to any agent or knowledge possessed by any agent or other person acting on
     behalf of the Company shall not effect a waiver or a change in any part of this policy and shall not
     estop the Company from asserting any right under the terms of the policy. The terms of this policy
     shall not be waived or changed, except by written endorsement issued to form a part of this policy,
     and this policy embodies all agreements existing between the Insureds and the Company or any of its
     agents relating to this insurance.
H.   Assignment of Interest: Assignment of interest under this policy shall not bind the Company
     unless its consent is endorsed hereon.
I.   ~~~r~gati~n: ~r~ the ~v~n~ of ~~y pay~~~t under this p~iic}~, the Ce~~par~~ shall b~ ~~br~g~t~d t~
     the right of recovery of all Insureds to the extent of such payment. The Insured shall execute and
     deliver instruments and papers and do whatever else is necessary to secure such rights. The
     Insured shall do nothing after the Claim to prejudice such rights.
     Any amount so recovered shall be apportioned as follows:
     Any recovery shall first be used for the repayment of expenses incurred toward subrogation;
     second, to any loss and expense payment by the Insured in excess of any Deductible(s); third, to
     any loss and expense payments by any excess carrier on behalf of the Insured; fourth, to any loss
     and expense payments by any primary carrier on behalf of the Insured; and, last, to repayment of
     the Insured's Deductible.
J.   Audit: The Company shall have the right to require of the Named Insured an audit by a duly authorized
     representative of the Company, who shall have the right and opportunity to examine the books and
     records of the Named Insured, and such examination may be made at any time during the said Policy
     Period and within three (3) years thereafter.
K.   Action Against the Company: No action shall lie against the Company unless, as a condition
     precedent thereto, the Insured shall have fully complied with all of the terms and conditions of this
     policy, nor until the amount of the Insured's obligation to pay shall have been fully and finally
     determined either by judgment against the Insured after actual trial or by written agreement of the
     Insured, the claimant and the Company.
     Nothing contained in this policy shall give any person or organization any right to join the Company
     as a co-defendant in any action against the Insured to determine the Insured's liability. Bankruptcy
     or insolvency of the Insured or of the Insured's estate shall not relieve the Company of any of its
     obligations hereunder.


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L.    Authorization: By acceptance of this policy, the first person or organization named in Item 1. of
      the Declarations shall act on behalf of all Insureds with respect to the giving and receiving of all
      notices to and from the Company as provided herein: the exercising of the Extended Reporting
      Period; the cancellation of this policy in whole or part; the payment of premiums and Deductibles
      when due; the receiving of any return premiums that may become due under this policy; and the
      I nsureds agree that such person or organization shall act on their behalf.
M.    Service of Suit: Except with respect to any policy issued in any state in which the Company is licensed as
      an admitted insurer to transact business, it is agreed that in the event of the failure of the Company to pay
      any amount claimed to be due hereunder, the Company, at the request of the Named Insured, will submit
      to the jurisdiction of a court of competent jurisdiction within the United States and will comply with all
      requirements necessary to give such court jurisdiction and all matters arising hereunder shall be
      determined in accordance with the law and practice of such court. Nothing in this clause constitutes or
      should be understood to constitute a waiver of the Company's rights to commence an action in any court of
      competent jurisdiction in the United States, to remove an action to a United States District Court, or to seek
      a transfer of a case to another court as permitted by the laws of the United States or of any state in the
      United States. It is further agreed that service of process in such suit may be made upon Secretary, Legal
      Department, Markel Midwest, Ten Parkway North, Deerfield, Illinois 60015 and that in any suit instituted
      against the Company upon this policy, the Company will abide by the final decision of such court or of any
      appellate court in the event of an appeal.
      Further, pursuant to any statute of any state, territory, or district of the United States which ma~Ces
      provision therefor, the Company hereby designates the Superintendent, Commissioner, or Director
      of Insurance or other official specified for that purpose in the statute, or his/her successor or
      successors in office, as its true and lawful attorney upon whom may be served any lawful process
      in any action, suit or proceeding instituted by or on behalf of the Named Insured or any beneficiary
      hereunder arising out of this policy, and hereby designates the above-named as the person to
      whom the said officer is authorized to mail such process or a true copy thereof.
IN WITNESS WHEREOF, the Company has caused this policy to be signed by its President and
Secretary, but this policy shall not be valid unless countersigned on the Declarations by a duly authorized
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                     Secretary                                                                   President




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NUCLEAR ENERGY LIABILITY
EXCLUSION (BROAD FORM)

This exclusion modifies the provisions of this policy.
It is agreed that:
1. This policy does not apply:
    A. Under any Liability Coverage, to bodily injury or property damage
        (1) with respect to which an Insured under this policy is also an Insured under a nuclear energy
            liability policy issued by Nuclear Energy Liability Insurance Association, Mutual Atomic Energy
            Liability Underwriters or Nuclear Insurance Association of Canada, or would be an Insured
            under any such policy but for its termination upon exhaustion of its limit of liability; or
        (2) resulting from the hazardous properties of nuclear material and with respect to which (a) any
            person or organization is required to maintain financial protection pursuant to the Atomic
            Energy Act of 1954, or any law amendatory thereof, or (b)the Insured is, or had this policy not
            been issued would be, entitled to indemnity from the United States of America, or any agency
            thereof, under any agreement entered into by the United States of America, or any agency
            thereof, with any person or organization.
    B. Under any Medical Payments Coverage, or any Supplementary Payments provision relating to first
       aid, to expenses incurred with respect to bodily injury resulting from the hazardous properties of
       nuclear material and arising out of the operation of a nuclear faci{ity by any person or organization.
    C. Under any Liability Coverage, to bodily injury or property damage resulting from the hazardous
       properties of nuclear ma#erial, if
        (1) the nuclear material (a) is at any nuclear facility owned by, or operated by or on behalf of, an
            I nsured or(b) has been discharged or dispersed therefrom;
        (2) the nuclear material is contained in spent fuel ar waste at any time possessed, handled, used,
            processed, stored, transported or disposed of by or on behalf of an Insured; or
        (3) the bodily injury or property damage arises out of the furnishing by an Insured of services,
            materials, parts or equipment in connection with the planning, construction, maintenance,
            operation or use of any nuclear facility, but if such facility is located within the United States of
            America, its territories or possessions or Canada, this exclusion (3) applies only to property
            damage to such nuclear facility and any property thereat.
2. As used in this exclusion:
   "hazardous properties" include radioactive, toxic or explosive properties;
   "nuclear material" means source material, special nuclear material or by-product ma#erial;
   "source material", "special nuclear material", and "by-product material" have the meanings given them in
   the Atomic Energy Act of 1954 or in any law amendatory thereof;.
   "spent fuel" means any fuel element or fuel component, solid or liquid, which has been used or exposed
   to radiation in a nuclear reactor;
   "waste" means any waste material (1) containing by-product material and (2) resulting from the
   operation by any person or organization of any nuclear facility within the definition of nuclear facility
   under paragraph (a) or (b} thereof;
   "nuclear facility" means
        (a) any nuclear reactor,
        (b} any equipment or device designed or used for (1) separating the isotopes of uranium or
            plutonium,(2) processing or utilizing spent fuel, or(3) handling, processing or packaging waste,
        (c) any equipment or device used for the processing, fabricating or alloying of special nuclear
            material if at any time the total amount of such material in the custody of the Insured at the
            premises where such equipment or device is located consists of or contains more than 25

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           grams of plutonium or uranium 233 or any combination thereof, or more than 250 grams of
           uranium 235.
      (d) any structure, basin, excavation, premises or place prepared or used for the storage or disposal
          of waste.
   and includes the site on which any of the foregoing is located, all operations conducted on such site and
   all premises used for such operations;
   "nuclear reactor" means any apparatus designed or used to sustain nuclear fission in aself-supporting
   chain reaction or to contain a critical mass of fissionable material;
   "property damage" includes all forms of radioactive contamination of property.




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